Case 0:23-cr-60143-RS Document 38 Entered on FLSD Docket 10/23/2023 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 23-cr-60143-RS

 UNITED STATES OF AMERICA,
      Plaintiffs,
 vs.

 STUART LEIBOV,
       Defendant.
 ____________________________/

                       NOTICE OF APPEARANCE AS CO-COUNSEL

        The undersigned attorney, Michael A. Gottlieb, hereby enters his appearance as co-

 counsel on behalf of STUART LEIBOV, in the above-styled cause; any and all papers and

 pleadings filed in this action should be mailed/e-mailed to the undersigned.

                                              Respectfully submitted,

                                              /s/Michael A. Gottlieb
                                              Michael A. Gottlieb, Esquire
                                              Michael A. Gottlieb, P.A.


                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished by e-
 mail on this 23rd day of October, 2023 to: Lead Counsel, Frank Maister
 (frank@maisterlaw.com) and AUSAs Catherine Koontz (Catherine.Koontz@usdoj.gov) and
 Brooke Latta (Brooke.Latta@usdoj.gov) via the CM/ECF electronic filing system.

                                              /s/Michael A. Gottlieb
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